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                   UNITED STATES DISTRICT COURT

      IN THE WESTERN DISTRICT COURT OF OKLAHOMA


UNITED STATES OF AMERICA,                      }
         Plaintiff,                            }
                                               }
v.                                             }      17-CR-239-D
                                               }
JERRY DRAKE VARNELL,                           }
         Defendant.                            }



                   DEFENSE MOTION LIMINE
     RE: FORT RILEY BOMB TEST AND PRESENCE OF PERSONS

      COMES NOW the defendant, Jerry Drake Varnell, respectfully asking

the Court to exclude from evidence all government exhibits and testimony of

government witnesses relating to the FBI’s 1000-pound large vehicle bomb

test (Fort Riley bomb test) conducted on August 30, 2017, as well as

testimony regarding the number of hotel occupants present at the Oklahoma

City Skirvin Hilton Hotel on August 11-12th, 2017.      Rule 401 provides the

test for relevant evidence; Rule 403 sets forth that the court may exclude

relevant evidence if its probative value is substantially outweighed by a

danger of unfair prejudice, confusing the issue, misleading the jury, undue

delay, wasting time, or needlessly presenting cumulative evidence. It is

asserted that the anticipated evidence is not relevant to the case, but even if


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deemed relevant, any probative value of said evidence would be

substantially outweighed by multiple factors. In support of this Motion, the

defendant offers and states as follows:

       The government has provided to the defendant notice of intent to

introduce certain testimony under Rules 701, 702 and 703. Included within

the notice was specific information of the government’s intent to call SA

Black in place of or in addition to Forensic Examiner Travis D. McCrady of

the FBI Explosives Unit. The government noticed that SA Black was

present and participated in a controlled preparation and detonation of a 1000

pound “Large Vehicle Bomb” on August 30, 2017, at Fort Riley, Kansas, to

demonstrate the destructive effects of a 1000-pound large vehicle bomb on

its surroundings. The government has asserted in its notice that this large

vehicle bomb that was detonated at Fort Riley on August 30, 2017 was

designed in a similar manner to the vehicle born improvised explosive

device (VBIED) that the defendant attempted to detonate. Forensic

Examiner Travis McCrady authored report Lab No. 2017-03418-2 regarding

the findings of the testing.

      Furthermore, in the notice, the government has advised that it may

seek to elicit testimony from SA Black in place of or in addition to FBI

Supervisory Intelligence Analyst Scott Sandersfeld. Sandersfeld created


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diagrams utilizing the data from the Lab No. 2017-03418-2 as well as

information from the investigation. The government has asserted that SA

Black will testify to the damage that would have resulted had the defendant

successfully detonated the VBIED, including the total destruction or loss of

the BancFirst building in downtown Oklahoma City, Oklahoma, and that the

damage from Defendant’s VBIED would not encompass all of the areas in

the rings presented on the diagram.

      On April 2, 2018, SA Larsen reported that the Skirvin Hilton Hotel,

located at 1 Park Avenue in Oklahoma City, has 34 hotel staff and

associates, 246 overnight guests, and approximately 100 wedding party

visitors, with a total number of persons in the hotel at 380 (approximately).

While the government has not, nor is required, to provide notice of intent to

introduce said evidence, it is anticipated by the defendant having received

the report.

The Fort Riley Bomb is Not Relevant to the Facts of this Case

      By definition, a “Vehicle-Born Improvised Explosive Device”

(VBIED) is an improvised explosive device placed inside a car or other

vehicle and then detonated. However, what the defendant may have

possessed was not an improvised explosive device. Through discovery, the




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government has provided to the defense the following information regarding

the INERT MATERIALS provided to Mr. Varnell:

      A. The INERT Materials

      On June 26, 2017, over a month prior to the event planned by the

government, SA Black drafted handwritten instructions detailing how to

utilize a fusing system prepared for the investigation to be used during the

investigation. (Exhibit 1)

      On August 1, 2017, law enforcement issued a “Law Enforcement

Operations Order” whereby law enforcement’s “planned operation date” was

set to be August 12, 2017. On that date, the Order provided that there

would be surveillance of delivery of an INERT VBIED to BANCFIRST by

Jerry Drake Varnell on 8/12/2017. (Exhibit 2) The plan further provided

that on August 12, 2017, FBI Agents and Task Force Officers of the

Oklahoma City Joint Terrorism Task Force would provide surveillance and

coverage on captioned subject as he picked up the INERT VBIED from a

storage facility in El Reno. (Exhibit 2, page 282)

      On August 10, 2017, it was reported by SA Black that he met with

UCE-6361 to discuss how the “inert explosive materials and an electronic

fusing/firing system provided for this investigation were designed to

function.” (Emphasis added) Handwritten instructions detailing how to arm


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the device and fire it were also provided along with inert explosives

described as four (4) Austin Powder cast boosters, four (4) Austin Powder

Hornet 100 cast boosters, two (2) sticks of Atlas Gelmas dynamite, a match

box containing two (2) inert Austin Powder electric detonators, and twenty

(20) 50 pound bags of an inert ANFO simulant. (Exhibit 3)

      On August 12, 2017, the operation proceeded. It is anticipated the

government will present to the jury video evidence reflecting the defendant

was picked up by the UCE, after having neither obtained nor contributed in

any way to items to facilitate the building of a VBIED, even after constant

and persistent urging to even come up with even the smallest of items such

as bins or even gloves. During the assembly process, the video will depict

the UCE (utilizing the expertise given to him by SA Black) directing and

coaching the assembling process, utilizing the inert materials all provided by

the UCE.

      On August 14, 2017, a press conference was held after the arrest of

Mr. Varnell, wherein FBI Special Agent in Charge Raul Bujanda remarked

that during the investigation, government agents were controlling the

situation from beginning to end, there was never a threat to the citizens of

Oklahoma and never a risk to the public.




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      On March 14, 2018, SA Black reported that the 1000 pounds of

simulated ANFO that was utilized in the investigation was disposed of at

that Oklahoma County Sheriff’s range. (Exhibit 4)(emphasis added)

      According to Lab No. 2017-03418-2, the Explosives Unit provided

the referenced substitute explosive materials for operation support in the

case. Forensic Examiner Travis McCrady reported that “substitute

explosive materials are visually and physically consistent with authentic

commercial explosive products but do not contain live explosives.” (Exhibit

5)(emphasis added)

      B. The Fort Riley Bomb

      To setup the test demonstration for August 30, 2017, items utilized

consisted of one (1) 44 gallon plastic trash can, two (2) 32 gallon plastic

trash cans, four (4) plastic storage bins filled with a total of 1000 pounds of

ANFO, and was utilized using booster charges linked via detonating cord

and two (2) detonators. Simply stated, the explosive device constructed

and exploded by FBI experts at Fort Riley was not constructed with similar

materials provided for operation support and thus had no commonality or

connection to the evidence in this case.    Regarding the test itself, The Lab

No. 2017-03418-2 report states:




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       “This test was performed in an open air environment with limited
witness material and provides a general demonstration of the destructive
effects of a 1000 pound large vehicle bomb on its surroundings.”

                                 ARGUMENT

       Had Mr. Varnell himself obtained and/or possessed materials similar

in nature (actual explosive materials that contained live explosives) to the

items utilized in the demonstration, perhaps the demonstration of the 1000

bomb at Fort Riley would be relevant to show that he had made real efforts

and/or attempts to acquire the components to assemble an actual VBIED, or

had either the knowledge or means to do so. However, it was the FBI that

marshalled its explosive experts to first provide substitute explosive

materials to Mr. Varnell, direct the assembly, and then a few weeks later the

FBI constructed an actual bomb, set it off, and measured its effects.

Knowing what materials to gather as well as assembling the materials clearly

takes expertise, as evidenced through the SA Black giving directions to the

UCE. Unlike the FBI experts who provided the substitute explosive

materials and also built the actual Fort Riley bomb, there is no anticipated

evidence that has been provided through discovery that the defendant in this

case possessed any knowledge of what materials to gather, nor how to

assembly a device that in any way resembled the one exploded by the FBI at

Fort Riley on August 20, 2017.


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      Any testimony regarding the bomb test, the accompanying

photographs and video is neither relevant nor should be admissible at trial.

Evidence is relevant only if it tends to make a fact more or less probable

than it would be without the evidence and the fact is of consequence to

determining the action. While the Fort Riley bomb test would demonstrate

that the government possesses the knowledge, component parts and

capability to create a large explosion, it does nothing to establish that Mr.

Varnell did.

      In the Fort Riley bomb explosion, the government did not simply

detonate a device possessed by the defendant (which would not have ever

exploded) but centered on a device that contained different and obviously

effect component parts that were not obtained by or possessed by or

assembled by the defendant in this case. In other words, the Fort Riley

bomb test should be deemed not relevant or admissible in this trial, including

interpretations and opinions contained within the report Lab No. 2017-

03418-2, the photographs, video and testimony of the Fort Riley bomb test.

      Substantial Prejudice will Result if the Evidence is Presented

      Even assuming the Fort Riley bomb test might have some relevance

as a demonstration of a bomb’s explosive effects for purposes of sentencing,

the probative value of the evidence from this this test would clearly be


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substantially outweighed by the danger of unfair prejudice, confusing the

issues, and misleading the jury. The term “unfair prejudice” speaks to the

capacity of some concededly relevant evidence to lure the factfinder into

declaring guilt on a ground different from proof specific to the offense

charged. Here, the unfair prejudice is that the jury may hear testimony, see

photographs and watch a video of a large explosion of a bomb built by FBI

experts using highly effective components and be misled to believe that it is

the same “destructive device” the defendant allegedly attempted to use as a

“weapon of mass destruction.” A sampling of the images includes:




 Figure 19. Post-initiation screen capture of high-speed video showing thermal
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                                        ct

and



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      The government’s investigation as to the number of individuals

located at the Oklahoma City Skirvin Hotel on August 12, 2017, is further

anticipated to be presented to merely impassion the sympathies of the jury

about something that never could have happened in this case: the possible

injury or death of 380 innocent individuals, in particular those celebrating

the unity of marriage. Again, Agent Bujanda assured the public that at no

time were any people under threat or risk; to allow the jury to speculate as to

what could or might have happened when there was no possibility of

anything happening on August 12, 2017, would clearly be substantially

prejudicial without relevance being provided. Moreover, there simply is no


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anticipated evidence that the defendant even knew a hotel was in the

immediate area of the BancFirst building, nor any evidence that he had

knowledge or anticipation that a wedding party would be taking place.

                                Conclusion

      The government seeks to introduce testimony about the destructive

power of the FBI’s bomb and what may have occurred if the materials

provided to the defendant by the FBI had been real. Mr. Varnell is charged

with attempting to use a weapon of mass destruction that he never had or

had the capability to build. Showing the jury diagrams, photos and videos

of an actual bomb exploding will demonstrate something that never could

have happened in this case. The defense asks the Court to exclude from trial

all evidence relating to the Fort Riley bomb test and the presence of

individuals in the area of attempted detonation. Additionally, the Court

should order the prosecution to instruct its expert witnesses not to mention

the particular evidence or subject deemed inadmissible by the Court.

                                       Respectfully submitted,


                                       s/Marna Franklin_______________
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                       CERTIFICATE OF SERVICE

      I hereby certify that on the 11th day of January, 2019, I electronically
transmitted the attached document to the Clerk of Court using the ECF
System for filing to:

Matthew Dillion, Mark R. Stoneman
Assistant U.S. Attorneys
210 West Park Avenue, Suite 400
Oklahoma City, OK 73102


                                       s/Marna Franklin___________




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